          Case 1:20-cr-00361-ELH Document 28-1 Filed 12/17/20 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                         *
                                                  *
                   v.                             *
                                                  * CRIMINAL NO. ELH-20-0361
 JAMES IAN PICCIRILLI and                         *
 KELLIE NICOLE WARFIELD,                          *
                                                  *
          Defendants.                             *
                                                  *
                                               *******

                                               ORDER

         The Court finds, upon the Government’s Consent Motion to Exclude Time Under the

Speedy Trial Act, that under 18 U.S.C. § 3161(h), the interests of justice will be served by

continuing the trial date beyond the speedy trial date and that the ends of justice served by such a

delay in the trial of this case outweigh the interests of the public and the Defendants in a speedy

trial, in that:

         a.       The failure to grant this request in this proceeding would be likely to result in a

miscarriage of justice;

         b.       The requested exclusion of time would give defense counsel sufficient time to

review discovery; it would account for the period that COVID-19 is anticipated to either delay trial

or impair defense counsel’s communications with the Defendants, which may affect the parties’

ability to reach an agreement; it would account for the fact that criminal jury trials were suspended

in the District of Maryland between March 2020 and August 2020, then again, effectively, between

November 2020 and January 2020 due to the COVID-19 pandemic; it would allow the parties

sufficient time to engage in discussions regarding a disposition or prepare for trial; and

         c.       The failure to set trial beyond the speedy trial date in this proceeding would deny
         Case 1:20-cr-00361-ELH Document 28-1 Filed 12/17/20 Page 2 of 2



counsel for the Defendants and the attorneys for the Government the reasonable time necessary

for effective preparation, taking into account the exercise of due diligence.

        THEREFORE, it is hereby ORDERED, this _____ day of _________________, 2020,

that:

        1.     The Government’s Consent Motion is GRANTED; and

        2.     The period from November 13, 2020, to January 31, 2021, shall be excluded from

calculation under the Speedy Trial Act.



                                                  _______________________________________
                                                  ELLEN L. HOLLANDER
                                                  UNITED STATES DISTRICT JUDGE




                                                 2
